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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 Standing Rock Sioux Tribe,                          )
                                                     )
                     Plaintiff,                      )
                                                     )
                v.                                   )
                                                     )      Case No. 1:24-cv-02905-JEB
                                                     )
 U.S. Army Corps Engineers,                          )
 Michael Connor, in his capacity as                  )
 Assistant Secretary, Col. Robert J. Newbauer,       )
 his capacity as Omaha District Commander,           )
 Brig. Gen. Geoff Van Epps, in his capacity as       )
 Northwestern Division Commander,                    )
                                                     )
                     Defendants.                     )
                                                     )


               DECLARATION OF ERROLL “DOUG” CROW GHOST JR.

       I, Erroll “Doug” Crow Ghost, Jr., under penalty of perjury, hereby declare and affirm:

       1.      I serve as Director of the Standing Rock Sioux Tribe Department of Water

Resources. It is my job to protect our water.

       2.      I was born and partially raised in the Rock Creek community on the Standing Rock

Indian Reservation. Rock Creek is a traditional community along the Grand River. Many of our

families are descendants of Chief Sitting Bull, who was killed by the Indian police on December

15, 1890, at his cabin at Rock Creek. Fearing reprisals, many of Sitting Bull’s tiospaye (extended

family and supporters) traveled to the Cheyenne River for Chief Big Foot’s protection, and then

traversed the plains during bitter winter weather to Red Cloud Agency. They were caught at

Wounded Knee Creek and, on December 29, 1890, up to 350 unarmed men, women and children

were massacred – a series of dramatic and tragic historical events that stemmed from the battle


                                                                         Exhibit A
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between my relatives’ ancestors and the Indian police in Rock Creek community on the Standing

Rock Indian Reservation.

       3.      I have served as Director of the Department of Water Resources since 2013. Prior

to that time, I served a term on the Standing Rock Tribal Council, from 2009 to 2013. I had

previously served the Tribe as Fitness and Nutrition Technician of the Diabetes Program, and as

the Pesticides Enforcement Compliance Officer. I served in the U.S. Army 82nd Airborne

Division, earning an Honorable Discharge in 1996. After a stint with the Chief Mountain Hotshot

Wildland Fire Fighters on Montana’s Blackfeet Reservation, I completed my Bachelors of Science

Degree at Salish Kootenai College in 2002, majoring in Restoration Ecology.

       4.      Standing Rock Tribal law authorizes the Department of Water Resources to

implement the Tribal Water Use Code, and Tribal Water Quality Standards under the Clean Water

Act. Under the Water Code, we monitor all surface water diversions from the Missouri River and

its tributaries on the Standing Rock Reservation. Permits are issued for agricultural, livestock and

municipal, rural and industrial water uses. We limit water diversions of certain water bodies to

ensure adequate conservation flows for fish and wildlife habitat, as subsistence hunting and fishing

are very important aspects of our way of life on the Standing Rock Reservation. We monitor

groundwater usage through an inventory of wells, in consultation with the U.S. Geologic Survey.

       5.      The Department of Water Resources also implements sections 106 and 303 of the

federal Clean Water Act on the Reservation, under an annual grant from the U.S. Environmental

Protection Agency. This includes water quality sampling, monitoring and analysis of organic and

inorganic compounds, and regulating the discharge of pollutants within Reservation boundaries.

We have rehabilitated two Civilian Conservation Corps dams and our Safety of Dams officer




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maintains three dams on the Reservation. I supervise seven employees in our under-funded

department, to monitor and regulate water throughout our Reservation of 2.3 million acres.

       6.      My duties as Water Resources Director also include serving in a senior capacity in

the Incident Command Structure of our Tribe’s Emergency Management program. Neither Energy

Transfer LP, nor its subsidiaries or contractors have attempted to work with the Tribal Emergency

Management program on oil spill response planning, even though the oil spill response zone is on

the Standing Rock Reservation.

       7.      I represent the Standing Rock Sioux Tribe on the Board of Directors of the Great

Plains Tribal Water Alliance, Inc., an inter-Tribal non-profit organization charted for the purpose

of advising the Great Plains Tribal Chairman’s Association on water and environmental issues. I

have served as Chairperson of the Board since 2016.

       8.      The Missouri River is an important resource in the life of our Tribe. Upon the

establishment of the Great Sioux Reservation in the 1868 Fort Laramie Treaty, communities

sprung up along the river bottoms near what the U.S. War Department called the “Grand River

Agency” and later the “Standing Rock Agency,” which was established in 1873. Generations later,

these traditional communities were forcibly relocated by the Army Corps of Engineers in the

winter of 1959-1960, to make way for the site of Oahe Reservoir. Our present-day communities

of Cannon Ball, Fort Yates, Kenel and Wakpala were forced to move most or all of their townsites

and community infrastructure, on the upland plains, away from the massive reservoir developed

by the Corps of Engineers on our Reservation. Today, we use the resources of the river and

reservoir for subsistence food sources, cultural activities and recreation.

       9.      One of the biggest challenges facing the Water Resources Department is monitoring

the elevation and water quality of Oahe Reservoir, which is controlled by the Corps of Engineers.



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The Corps operates Oahe Dam primarily for downstream navigation, flood control and water

supply. It releases up to 35,000 cubic feet per second to the lower basin each day, from April 1

through November 30. That has the effect of draining Oahe Reservoir during the summer and fall.

In theory, the reservoir gets replenished from runoff from Rocky Mountain snow melt each spring.

       10.     During periods of persistent drought, such as we are experiencing at present, the

snow melt is inadequate to replenish Oahe Reservoir. The reservoir recedes into a braided river,

and water quality, water supplies and fish and wildlife habitat on the Reservation suffer

degradation. As land is eroded, cultural sites get exposed, and looted or destroyed.

       11.     The work of the Water Resources Department is made much more difficult by the

lack of consultation and accountability by the Corps of Engineers. The Corps has failed to develop

a productive working relationship with our Tribe. It does not consult with our leadership or my

Department on the impacts to our land and water from its operation of Oahe Dam and Reservoir.

Corps’ officers may meet with our Tribe periodically to explain what they are doing, but our

requests the mitigate the adverse impacts of its operations on our land and water fall on deaf ears.

       12.     The constant rotation in the leadership of the Corps’ Omaha District and

Northwestern Division undermines continuity and inhibits progress in addressing Tribal concerns.

The officers with whom I deal with will come into their positions ignorant of Tribal rights, and

will rotate out before developing any rapport with my department or our Tribal leadership. As a

result, the agency is generally insensitive to our cultural nuances and tends to insult our Tribe in

meetings and other dealings. For example, on November 6, 2023, the Corps held a public hearing

in Bismarck, North Dakota, 50 miles from the Standing Rock Reservation, on the draft

environmental impact statement on the Dakota Access Pipeline Lake Oahe crossing. Our Tribe

requested that a public hearing to be held on the Reservation, to enable Tribal members from the



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communities that would be affected by an oil spill to attend and give testimony The Corps

responded that it would send a link to the Tribe and hold a virtual meeting with Tribal members –

a culturally-insensitive and insulting response to a reasonable request.

       13.     Our culture remains very important to our people, and to me personally. I strive to

learn and speak our Lakota language and practice our cultural values, of respect, honesty, courage,

humility and compassion. I participate in Lakota religious rights and ceremonies, including the

most sacred of our ceremonies, the Sun Dance, and the sweat lodge ceremony.

       14.     The inipi, or sweat lodge ceremony, takes place in a contained structure of willow

stems, which are riparian trees, Water is poured on heated rocks for purification in a prayer circle.

As the Missouri River plays such an important role in our history and our way of life, it is desirable

to engage in ceremony at the water’s edge.

       15.     In approximately August 2020, I inquired about constructing a sweat lodge next to

the Missouri River below a campground operated by our Tribe on surplus Corps land within our

Reservation. I was informed by Corps officials that I needed a permit and would have to comply

with certain permit requirements for the sweat lodge structure and the fire needed to heat rocks for

the ceremony. I applied for and obtained a permit from the Corps, and constructed the sweat lodge

and fire pit. My extended family joined me for the ceremony.

       16.     At the time, this Court had recently vacated the easement for the Dakota Access

Pipeline across that very river. Yet the Corps is allowing the pipeline to continue to operate

without an easement or permit. My family had to obtain a permit from the Corps of Engineers to

engage in a traditional Lakota religious ceremony on our own Reservation, while DAPL operated

without an easement or permit across Corps-administered land nearby. We experienced the irony




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and injustice of the Corps of Engineers’ management of the flood control project lands on and near

our Reservation.

       17.     As we were about to begin the ceremony, we took water from the Missouri River,

to pour on heated rocks to create the steam for purification. My son Trueth was approximately 10

years old, and he asked, “Dad, you are the Water Director for the Tribe. Are you sure this water

is not polluted with oil.” My heart sank. “No,” I responded, “I cannot say that for certain.” I

experienced first-hand the pain that DAPL causes for our people, just as we entered the sweat

lodge and started the ceremony.

       18.     My staff and I engage routinely navigate the Missouri River by boat or jet ski, to

access sampling sites, and monitor activities affecting water quality and water flows. We have

observed the condition of Oahe Reservoir throughout the 80-mile river segment on our

Reservation, including the reservoir tailwaters at the mouth of the Cannon Ball River.

       19.     The Corps of Engineers’ Summary of Engineering Data – Missouri River Main

Stem System indicates that Oahe Reservoir has a total surface area at normal operating pool

elevation of 362,000 acres, and is 231 miles long “ending at Bismarck.” https://www.nwd-mr-

usace.army.mil/rcc/projdata/summaryengdat.pdf . In reality, the reservoir tails off just above the

mouth of the Cannon Ball River – the wooded bottomlands re-emerge above Fort Rice, about 10

miles north. The DAPL Lake Oahe crossing is located at the tailwaters of the reservoir – where

the depth and surface area are lower than the downstream segment of the reservoir and the

fluctuations in water elevation are more pronounced.

       20.     The riverine conditions at the mouth of the Cannon Ball River are constantly

changing. Free flowing water enters the reservoir above its confluence with the Cannon Ball,

which has a heavy silt load. During periods of high water, the silt is deposited on the bed of the



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reservoir. The area resembles a freshwater lake, with teems of waterfowl in the spring and fall,

and robust macroinvertebrate resources stimulating the food web for aquatic life.

       21.     During periods of low water, the reservoir recedes and the river behaves as the

naturally-braided Missouri River. Low water causes the river bed to change rapidly, as deposits

of sediment get transported downstream, and side channels continuously form and disappear. The

main channel itself becomes difficult to discern as it coalesces with side channels. The depth of

the water can suddenly change from 25 feet or more to 5 feet or less, based upon overall

hydrological conditions, sediment deposits, time of the year, recent rainfall patterns, etc. During

low water, in this segment the water temperature increases and aquatic habitat is degraded.

       22.     As Director of Water Resources, I have navigated different vessels through this

area dozens of times. During low water, this stretch of river, where the Corps of Engineers in its

wisdom permitted a high capacity hazardous liquid pipeline, never looks the same twice. There

are no “typical” conditions at this segment of Oahe Reservoir. Even experienced river guides have

difficulty navigating the Oahe tailwaters during periods of low water.

       23.     With respect to river and reservoir conditions, developments during the drought of

the late 1990’s are instructive. A multi-year drought and the unabated downstream release of water

by the Corps of Engineers caused Oahe Reservoir levels to recede significantly. Large deposits of

silt were transported by the braided river from the mouth of the Cannon Ball to the channel at Fort

Yates, and the intake for the Tribe’s drinking water system silted over. On November 23, 2003,

the Reservation’s public water system was rendered inoperative. Three Reservation communities,

Fort Yates, Cannon Ball and Porcupine, were without potable water for two weeks, causing a

public health crisis on our Reservation. The water had not receded to an elevation below the intake,

but sediment deposits in a side channel clogged and destroyed the intake. All the while, the Corps



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of Engineers released water for downstream navigation flows and water supply for communities

along the lower Missouri.

       24.     On October 9, 2024, I accompanied my staff and consultants on a site visit to the

DAPL Lake Oahe crossing and to control points 1 and 2 as identified in the Geographic Response

Plan. The purpose of the visit was to evaluate access to those control points closest to the DAPL

Lake Oahe crossing, and the conditions at the control points.

       25.     We attempted to access Oahe Reservoir from the Walker Bottom Marina boat dock

at Standing Rock and boat upstream, but at elevation 1600 msl with the sediment load and river

conditions being what they were, the boat dock was unusable.

       26.     We drove north to the Fort Rice boat dock and were able to get into the water there,

but the water depth in the estuary area where the boat dock was located was 5-6 feet. We were not

able to readily access the main channel and travel down river. We got stuck numerous times in

sediment deposits on the river bed. The river was braided, with sediment deposits rising above the

water level creating new islands, and new side channels interspersing with the main channel. It

was mucky. The Lakota term for the Missouri River is Mni Sose – loosely translated as “murky

water,” and that is what we experienced.

       27.     As far as I can tell from the redacted Geographic Response Plan, control point 1 is

surface water on the northern bank of the Cannon Ball River. On October 9, 2024, control point

1 was de-watered and in the middle of a football field-size mud flat. The entire area was soft mud

with emerging invasive vegetation. The bluff to the north and west inhibited land access to this

area. The water’s edge at the Cannon Ball River’s was generally inaccessible by land, because of

extent of the mud flat and topography of the landscape.




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